     Case 1:17-cr-00034-JRH-BKE Document 158 Filed 11/21/17 Page 1 of 3
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                                                                  :v,·,iiation Security Officer
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

UNITED STATES OF AMERICA                      *
                                              *
                                              *
v.                                            *      NO. 1:17-CR-00034
                                              *
REALITY LEIGH WINNER                          *
                                              *
* * * * * * * * * * * * * * * * * * * *


                                  NOTICE OF FILING

       Defendant REALITY LEIGH WINNER, through Counsel, hereby provides notice to the

Court and Counsel of Record, of the filing of the following document with the Classified

Information Security Officer (CISO), on November 20, 2017:

                       DEFENDANT'S FIRST CIPA § 5 NOTICE




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Respectfully submitted,


ls/Joe D. Whitley

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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 21, 2017, I electronically filed the foregoing with the
Clerk of the Court using the ECF system, which sent notification of such filing to counsel of
record for all parties.

                                                    s/ Joe D. Whitley
                                                    Joe D. Whitley
